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12   Fund, Schwab Charitable Board of Directors, and
     Schwab Charitable Investment Oversight
13   Committee
14                              UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
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                                     SAN FRANCISCO DIVISION
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18   PHILIP PINKERT, individually and on
     behalf of a class of similarly situated      Case No. 3:20-cv-07657-LB
19   individuals, and on behalf of the general
     public,                                      [PROPOSED] ORDER GRANTING
20                                                DEFENDANTS’ UNOPPOSED MOTION
            Plaintiff,                            TO MOVE DATE OF HEARING ON
21                                                DEFENDANTS’ MOTIONS TO DISMISS
                v.
22
     SCHWAB CHARITABLE FUND,
23   CHARLES SCHWAB & CO., SCHWAB
     CHARITABLE BOARD OF DIRECTORS,
24   and SCHWAB CHARITABLE
     INVESTMENT OVERSIGHT
25   COMMITTEE,
26          Defendants.
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     Case No. 3:20-cv-07657-LB                     [PROPOSED] ORDER GRANTING DEFENDANTS’
                                                          MOTION TO MOVE DATE OF HEARING
 1          Defendants Schwab Charitable Fund, Schwab Charitable Board of Directors, and Schwab
 2   Charitable Investment Oversight Committee (the “Schwab Charitable Defendants”) and
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     Defendant Charles Schwab & Co. have filed a Motion to Move the Date of the Hearing on
 4
     Defendants’ Motions to Dismiss. Defendants have requested that the hearing date be moved
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     from May 20, 2021 at 9:30 AM to June 17, 2021 at 9:30 AM. Plaintiff Philip Pinkert has
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 7   indicated that he does not oppose the motion. Upon consideration, IT IS HEREBY ORDERED

 8   that this motion is GRANTED. The hearing on Defendants’ motions to dismiss shall be reset to

 9   June 17, 2021, at 9:30 AM.
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     IT IS SO ORDERED.
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12                 May 11
     DATED: ________________________, 2021             __________________________________
                                                       HONORABLE LAUREL BEELER
13                                                     UNITED STATES MAGISTRATE JUDGE

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      Case No. 3:20-cv-07657-LB                         [PROPOSED] ORDER GRANTING DEFENDANTS’
                                                               MOTION TO MOVE DATE OF HEARING
